
WHATLEY, Judge.
The appellant, Chesterfield Drakes, challenges his judgment and sentence for aggravated battery. We find merit only in his contention that the trial court erred in imposing a cost of $2.00 pursuant to section 943.25(13), Florida Statutes (1993), without announcing that cost at sentencing. That cost was a discretionary cost, which required notice and an opportunity to be heard. Reyes v. State, 655 So.2d 111 (Fla. 2d DCA 1995); Priest v. State, 20 Fla. L. Weekly 84, — So.2d-(Fla. 2d DCA Dec. 28, 1994); Sutton v. State, 635 So.2d 1032 (Fla. 2d DCA 1994). Since Drakes was not given notice and an opportunity to be heard as to that cost, the $2.00 imposed pursuant to section 943.25(13) is hereby stricken. Drakes’ judgment and sentence is otherwise affirmed.
DANAHY, A.C.J., and PARKER, J., concur.
